 

CaS€ 2. U~IA@WQUTE§ES'|"|MNDBUWHWT€FZURFH'§EIUWOWSL Paqe 1 Of 2 Page|D 158

 

 

 

 

 

 

 

 

 

i. cinmiswi)lv. CODE 2. PERSON REPRESENTE}) vOUCHER NUMBER
TNW Mitchell, Marlan
3. MAG. i)KT./oF.F. N UMBER 4. DIsT. DKT.mEF. NUMBE 5. AFPEALS i)KT./i)EF. NUMBER 6. oTHER DKT. NUMBE _ h
2:01-020169-001 ~ hE .._.D-°~
1. iN CASE'MATTER or (ce»¢ N.m¢) s. PAYMENT CATEGoRY 9. TYPE PERSON REPRESENTED 10. it(§:PpEtSEi:iTA)TiON TYPE
e¢ ns file nos
U.S. v. Mitchell Felony Adult Defendant Other was FH lg ',.5

H. OFFENSE{S) Cl'l ARCED (Cite U.S. Code, Title dc Se¢:tion) li'umre than one offense, list (up to ilve) major offenses charged, according to severin ofol'l`enre.

1) 21 S4IA=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE, OR DISPENSE

 

  

 

 

12. ATTORNEY'S NAME Firat Name, M.l,, Llst Name, including any sul`l'il.) 13. COURT ORDER m
AND MAIL`NG A[)DRE S 0 Appoinling Coun.li:l m C Co-Coun.sel . i row
(Jljnql\ll ARTHUR E [:i F Sulu For Federal De|'ender ij R Suba For Retained Attoraey :T\, Mt.
SUITE 300 [:l P Subs For l'ane| Attorney [:I Y Standby Coimgel
1661 INTNI.. PL.DRIVE Prlm' A'wrll¢y" Nlme=
MEMPHIS TN 38120 »_, ' mm

 

\:l Beea\iae the above-named person represented has testified under onth or hal
otherwise satisfied this court that lie or she (l) ll financially unable to employ counsel and
»l- . L .. . _ (2) does riot wish to waive counsel, and because the interests o!'j\'ilt|i:e lo require, the

r attorney whole name appears ill [tem ll il appo pment this person ln this case,
14. N AME AND MAILING ADDRESS OF LAW FIRM (only provide per instructions) or

 

   

Signatiire oi' Prelldlng .ludiclal Dmcea' or By Order nl' the Courl

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date cipr l [? nos Nunc Pro Tunc Date
Repeyment or partial repayment ordered from tlie person represented for thin service at
time ol'sppolntment. E:`i YES i:] NO
cLAiM ron sERvIcEs ANo ExPENsEs_ " ' ` ` "` 7 `

CATEGORIES (Auaeh itemization ar services with dated CEHH&SD S:MB NAIB;JY;S;'II‘EI'{ES%H MA§§{J:§::H AR§%Q¥AL
l§. a. Arraignment and/or Plea

b. Bail and Detention l-learings

c. Motion Heartngs
§ d. Triei
C e. Sentencing Hearings
3 f. Revocation Hearings
:' g. Appeais Court

h. Other (Specify on additional sheets]

(Rate per hour = $ ) TGTALS:

16. a. lriterviews and Coni`ereni:es _
fig h. Obtaining and reviewing records f
o c. Lega] research and brief writing
; d. Travel time
3 e. investigative and Otlier work rspeeity on ..idiiiimal sheeie)
{ (Rate per hour - $ ) TOTAIS:
1'.'. Travel Eicpenses (|odging, parking, meals, mileage, etc.)
lB. Other Expenses (other than exper¢, trenscripis, etc.)

 

 

GRAND 'POTAL`.S (CLAIMED AND ADJUS_TED): _ 7
19. CERT|FICATION OF A'l"l`ORNEY/PAYEE FOR Tl'lE PERlOD 0 F SERVICE 20. APPO[NTMENT TERM|NAT|ON l.`IATE 21. CASE DISPO SIT]ON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FRGM m IF OTHER THAN CASE COMPLET|ON
12. CLAIM STATUS [j Final Payment g Interlm l'ayo:ieot Number _ i:i Supplemental l’aymem
Have you previously applied to the court l'ia' compensation andfor rem|mliurlement for this ease? i:l YES m NO li’ yee, were you paid'i' l:l YES F:I NO
Oiher than from the court, have ynn, or toyour knowledge has anyone elle, received payment (compensation or anything or value) l'rom loy other source in connection with this
representation'.' ij YES [:I NO lt'yel, give details on additional aheetl.
l swear orafl'irm the truth or correctness of the above stetelnerits.
S|gnalure of Attorney: Date:
APPROVED FOR PAYMENT - COU'RT USE ONL_Y n
23. IN COURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 2?. 'I`C|TAL AM'i‘. APPRICERT
28. SlGNATUR.E OF THE FRESIDINC JUDICIAL OFFICER DATE 181 .IUDGE f MAG. JUDGE CODE
29. IN COURT COMP. 3[|. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32.. OTHER EXPENSES 33. '['OTAL AMT. APPRC|VED
34. SIGNATUR.'E OF CHIEF JUDGE, COURT OF APP EALS (OR DELEGATE) Paymenl DATE 342. JUDGE CUDE
approved ln excess of the statutory threshold amouni.

 

 

 

 

 

Thie document entered on the docket sheet in comp|i nce

with Ftuie 55 end/or 32(|3) FHCrP on 2 '[2:{2 /¢ 2

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 162 in
case 2:01-CR-20169 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

Arthur E. Quinn

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Honorable Samuel Mays
US DISTRICT COURT

